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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                               Chapter 11

                                                         Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al.,1
                                                         (Jointly Administered)
                               Debtors.
                                                         Docket Nos. 651, 924, & 941


       NOTICE OF RESCHEDULED CONFIRMATION HEARING DATE AND TIME

             PLEASE TAKE NOTICE that pursuant to the Order (I) Approving the Disclosure

Statement and the Form and Manner of Notice, (II) Approving Plan Solicitation and Voting

Procedures, (III) Approving Forms of Ballots, (IV) Approving Form, Manner, and Scope of

Confirmation Notices, (V) Establishing Certain Deadlines in Connection with the Approval of the

Disclosure Statement and Confirmation of the Plan, and (VI) Granting Related Relief [Docket No.

651] (the “Disclosure Statement Order”), the hearing (the “Confirmation Hearing”) to consider

the confirmation of the Debtors’ Second Modified First Amended Joint Chapter 11 Plan of

Lordstown Motors Corp. and Its Affiliated Debtors [Docket No. 941] (the “Plan”)2 was scheduled

for February 22, 2024 at 10:30 a.m. (ET) [Docket No. 924].

             PLEASE TAKE FURTHER NOTICE that the Confirmation Hearing has been

rescheduled with permission from the Court, and will now commence on March 5, 2024 at 3:00

p.m. (ET) before The Honorable Mary F. Walrath, at the United States Bankruptcy Court for the




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         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address
is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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        Capitalized terms used and not otherwise defined herein have the meaning ascribed to them in the Plan or the
Disclosure Statement Order (including exhibits thereto), as applicable.
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District of Delaware, 824 Market Street, 5th Floor, Courtroom 4, Wilmington, Delaware 19801.

       PLEASE TAKE FURTHER NOTICE that the Debtors shall file the (i) reply to Plan

Objections, (ii) brief in support of Plan Confirmation; (iii) declarations in support of Plan

Confirmation, and (ii) Voting Report on or before February 29, 2024.

Dated: February 9, 2024                       WHITE & CASE LLP
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